Our examination of the decree below, and of the evidence upon which it is based, results in the conclusion that the decree is right.
The evidence required the application of the rule as to independent advice as laid down in Slack v. Rees, 66 N.J. Eq. 447,
and Post v. Hagan, 71 N.J. Eq. 234. The vice-chancellor correctly applied the rule. The decree below will be affirmed, with costs.
For affirmance — THE CHIEF-JUSTICE, TRENCHARD, PARKER, MINTURN, KALISCH, BLACK, KATZENBACH, CAMPBELL, LLOYD, WHITE, VAN BUSKIRK, McGLENNON, KAYS, HETFIELD, DEAR, JJ. 15.
For reversal — None. *Page 327 